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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

ADAM BAKER, as Personal Representative to the
Estate of ZACHARY BARELA,

               Plaintiff,

v.                                                           No. 2:22-cv-152 GJF/KRS

CORIZON HEALTH, INC., et al.,

               Defendants.

                                    SCHEDULING ORDER

        THIS MATTER comes before the Court following a telephonic Rule 16 scheduling

conference held on May 24, 2022. At the hearing, the Court adopted the parties’ proposed Joint

Status Report and Provisional Discovery Plan, with slight modifications, as reflected in the dates

below

        Accordingly, IT IS HEREBY ORDERED that the parties shall adhere to the following

discovery plan:

        (a) Maximum of twenty-five (25) interrogatories by Plaintiff to each Defendant and

           twenty-five (25) by Corizon to Plaintiff, with responses due thirty (30) days after

           service.

        (b) Maximum of twenty-five (25) requests for production by Plaintiff to each Defendant

           and twenty-five (25) by Corizon to Plaintiff, with responses due thirty (30) days after

           service.

        (c) Maximum of ten (10) requests for admission by Plaintiff to each Defendant and ten

           (10) by Corizon to Plaintiff, with responses due thirty (30) days after service.




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       (d) Maximum of ten (10) depositions by Plaintiff and ten (10) by Corizon. Each

           deposition limited pursuant to the Federal Rules of Civil Procedure.

       IT IS FURTHER ORDERED that the following case management deadlines shall

govern:

(a)   Deadline for Plaintiff to amend pleadings and join additional parties pursuant to Federal

      Rule of Civil Procedure 15: June 23, 2022;

(b)   Deadline for Defendant to amend pleadings and join additional parties pursuant to Federal

      Rule of Civil Procedure 15: July 25, 2022;

(c)   Deadline for Plaintiff’s expert reports: September 26, 2022;

(d)   Deadline for Defendants’ expert reports: October 26, 2022;

(e)   Termination of discovery: November 21, 2022;

(f)   Deadline for supplementing discovery/disclosures: Due as required by the Federal Rules

      of Civil Procedure;

(g)   Motions relating to discovery: December 12, 2022;

(h)   All other motions:1 December 22, 2022;

(i)   Pretrial order deadlines to be set by the presiding judge.

       IT IS FURTHER ORDERED that the Court must approve any changes to the timing or

scope of discovery, other than the parties’ agreement to extend the length of a deposition made

during the deposition in question. Requests by a party to change the timing or scope of

discovery, other than a mutual agreement to extend a deposition reached during the deposition,

must be made by motion and before the termination of discovery or the expiration of any



1
 This deadline applies to motions related to the admissibility of experts or expert testimony that
may require a Daubert hearing, but otherwise does not apply to motions in limine. The Court will
set a motions in limine deadline in a separate order.
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applicable deadline. Discovery must be completed on or before the termination of the discovery

deadline. A written discovery request must be propounded by a date which ensures that the

response to that request is due on or before the discovery deadline. The parties are further

reminded that the cutoff for motions related to discovery does not relieve the party of the twenty-

one (21) day time period under Local Rule 26.6 to challenge a party’s objections to answering

discovery. The parties are encouraged to review Federal Rule of Civil Procedure 26(a)(2) to

ensure they properly disclose all testifying witnesses, not just those for whom a report is

required.



                                                      ______________________________
                                                      KEVIN R. SWEAZEA
                                                      UNITED STATES MAGISTRATE JUDGE




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